USDC IN/ND
      Case:case
            20-1896
                1:20-cv-00037-HAB-SLC
                       Document: 1-2  document
                                         Filed: 05/28/2020
                                                 52 filed 05/28/20
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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                      Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                            Phone: (312) 435-5850
             Chicago, Illinois 60604                                                  www.ca7.uscourts.gov




                                                    NOTICE OF CASE OPENING
 May 28, 2020

                                         LIGTEL COMMUNICATIONS, INC.,
                                         Plaintiff - Appellant

 No. 20-1896                             v.

                                         BAICELLS TECHNOLOGIES, INC., et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No. 1:20-cv-00037-HAB-SLC
 Northern District of Indiana, Fort Wayne Division
 Court Reporter Tina Gallucci
 Clerk/Agency Rep Robert N. Trgovich
 District Judge Holly A. Brady

 Case filed: 05/28/2020
 Case type: cv/pri
 Fee status: Paid
 Date of Judgment: 04/21/2020
 Date NOA filed: 05/21/2020


The above-captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit.
 Deadlines:

 Appeal No.            Filer                               Document                 Due Date

                       LigTel Communications,              Docketing statement
 20-1896                                                                            05/28/2020
                       Inc.                                due



                       LigTel Communications,              Transcript information
 20-1896                                                                            06/11/2020
                       Inc.                                sheet
USDC IN/ND
      Case:case
            20-1896
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                   LigTel Communications,
 20-1896                                               Appellant's brief                    07/07/2020
                   Inc.




NOTE: This notice is issued to counsel of record, in furtherance of the revised Circuit Rule 3(d), to provide necessary
information regarding this appeal. Please verify this notice for accuracy. Counsel are encouraged to provide a fax
and/or e-mail address to the court. If any corrections are necessary, please indicate those corrections on this notice
and return it to the Clerk's Office within ten (10) days.

THIS NOTICE SHALL NOT ACT AS A SUBSTITUTE FOR MOTIONS FOR NON-INVOLVEMENT /
SUBSTITUTION OF COUNSEL. COUNSEL ARE STILL REQUIRED TO FILE THE APPROPRIATE MOTIONS.



Important Scheduling Notice!

    Hearing notices are mailed shortly before the date of oral argument. Criminal appeals are scheduled shortly
    after the filing of the appellant's main brief; civil appeals are scheduled after the filing of the appellee's brief. If
    you foresee that you will be unavailable during a period in which your appeal might be scheduled, please
    write the clerk advising him of the time period and the reason for your unavailability. The court's calendar is
    located at http://www.ca7.uscourts.gov/cal/argcalendar.pdf. Once an appeal has been scheduled for oral
    argument, it is very difficult to have the date changed. See Cir.R. 34(e).




 form name: c7_Docket_Notice(form ID: 108)
USDC IN/ND
      Case:case
            20-1896
                1:20-cv-00037-HAB-SLC
                       Document: 1-3  document
                                         Filed: 05/28/2020
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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 May 28, 2020


 To:      Robert N. Trgovich
          Clerk of Court

 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 20-1896

                    Caption:
                    LIGTEL COMMUNICATIONS, INC.,
                    Plaintiff - Appellant

                    v.

                    BAICELLS TECHNOLOGIES, INC., et al.,
                    Defendants - Appellees


                    District Court No: 1:20-cv-00037-HAB-SLC
                    Court Reporter Tina Gallucci
                    Clerk/Agency Rep Robert N. Trgovich
                    District Judge Holly A. Brady

                    Date NOA filed in District Court: 05/21/2020


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)
